Case 4:18-cv-00129-ALM-KPJ Document 45 Filed 07/30/19 Page 1 of 2 PageID #: 308




                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

  SECURITIES AND EXCHANGE                         §
  COMMISSION,                                     §
                                                  §
            Plaintiff,                            §
                                                  §   ACTION NO. 4:18-CV-129
  v.                                              §   JUDGE MAZZANT/JUDGE JOHNSON
                                                  §
  AMERATEX ENERGY, INC., LEWIS                    §
  OIL CORPORATION, LEWIS OIL                      §
  COMPANY, THOMAS A. LEWIS,                       §
  WILLIAM R. FORT, DAMON L. FOX,                  §
  and BRIAN W. BULL,                              §
                                                  §
            Defendants.

                     MEMORANDUM ADOPTING REPORT AND
              RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On April 17, 2019, the Magistrate Judge entered proposed findings of fact and recommendations

 (Dkt. #35) that Plaintiff Securities and Exchange Commission’s (“SEC”) Unopposed Motion

 to Enter Agreed Partial Judgment against Defendant Damon L. Fox (“Fox”) (Dkt. #34) be

 granted.

        Having received the Report of the United States Magistrate Judge, and no timely

 objections being filed, the Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

 conclusions of the Court. Accordingly, the SEC’s Unopposed Motion to Enter Agreed Partial

 Judgment against Defendant Damon L. Fox (Dkt. #34) is hereby GRANTED.

       IT IS SO ORDERED.
Case 4:18-cv-00129-ALM-KPJ Document 45 Filed 07/30/19 Page 2 of 2 PageID #: 309
SIGNED this 30th day of July, 2019.




                           ___________________________________
                           AMOS L. MAZZANT
                           UNITED STATES DISTRICT JUDGE
